Exhibit A
                                                                                                      201 ST. CHARLES AVENUE
                                                                                                      SUITE 3600
                                                                                                      NEW ORLEANS, LOUISIANA
                                                                                                      70170


                                                                                                      PHONE:   504.566.5200
                                                                                                      FAX:     504.636.4000


                                                                                                      www.bakerdonelson.com


 ROBERT C. CLOTWORTHY                                                   CHRISTOPHER M. HANNAN
 Direct Dial: (504) 566-8676                                            Direct Dial: (504) 566-8612
 E-Mail Address: rclotworthy@bakerdonelson.com                          E-Mail Address: channan@bakerdonelson.com

                                                     February 20, 2018
 VIA E-MAIL
 JONES WALKER LLP
 c/o Tarak Anada , Jeff Tillery, Barrett Rice
 201 St. Charles Ave, Ste. 5100
 New Orleans, LA 70170
 tanada@joneswalker.com
 jtillery@joneswalker.com
 brice@joneswalker.com
                    Re:       Cox Operating, LLC et al. v. Settoon Towing, LLC et al.
                              Case No. 17-1933, Eastern District of Louisiana
                              Our File No. 2900331-46
 Dear Counselors:

     I write pursuant to Rule 26(a)(2) and 26(e) of the Federal Rules of Civil Procedure to supplement and amend
 Cox’s Initial Disclosure Statement (dated June 2, 2017, as supplemented by our letters of August 24 and 28, 2017,
 and October 5, 2017) to amend the information regarding the “No Claims Bonus” category of damage
 computation (which is in addition to the items previously identified in the June 2, 2017 initial disclosures, as well
 as Cox’s intervening discovery responses):

          Rule 26(a)(1)(A)(iii) - Computation of Categories of Damages

      •   Return of “No Claim Bonus” (NCB) previously pre-paid to Cox by Cox’s underwriters, as a result of no
          claims having been made during the 2016-2017 policy period for Cox’s Energy Package policy MS-
          S5204 pursuant to Endorsement No. 10 to the policy, and which Cox was recently required to return to its
          underwriters as a result of the claim made relating to the Allision. $1,169,653.60.

    Additionally, please see supplemental documents COX- 023192-023226, which are a complete set of the
 endorsements to the Energy Package Policy.

     By way of further explanation, the 2015-2016 policy period referenced in Cox’s original supplemental Rule
 26 letter of October 5, 2017 was incorrect; and the reference in the October 5, 2017 letter to policy “DE
 1602048” was to a secondary/alternative reference number; the principle policy number for the Energy Package
 Policy is as reflected in the cover notes, MS-S 5204A, B, C and D.

                                                               Sincerely yours,

                                                               Christopher M. Hannan

 CC: Robert C. Clotworthy



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